             Case 18-70582-JAD                     Doc          Filed 07/11/22 Entered 07/11/22 18:35:21                             Desc Main
                                                                Document      Page 1 of 5
 Fill in this information to identify the case:
                                                                                                    *Please see disclaimer on page 2.
  Debtor 1       Michael L Ressler aka Mike Ressler

  Debtor 2

 United States Bankruptcy Court for the: Western District of Pennsylvania

 Case number:    18-70582-JAD



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                    12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of              Lakeview Loan Servicing, LLC                                                 Court claim no.                                       4
     creditor:                                                                                         (if known):
     Last 4 digits of any number                                                                       Date of payment change:                   07/01/2022
     you use to identify the debtor's                                       3921                       Must be at least 21 days after date of
     account:                                                                                          this notice

                                                                                                       New total payment:                         $390.32
                                                                                                       Principal, interest, and escrow, if any


Part 1:       Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [X] No
      [ ]     Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                      Describe the basis for the change. If a statement is not attached, explain why:

                            Current escrow payment:                                         New escrow payment:



Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                     Current interest rate:                                        New interest rate:
                     Current Principal and interest payment:                       New principal and interest payment:



Part 3:       Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

       [ ] No
       [X] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change: MI Cancellation
                          Current mortgage payment: $438.67                                 New mortgage payment: $390.32




Official Form 410S1                                                Notice of Mortgage Payment Change                                                         page 1
             Case 18-70582-JAD                       Doc          Filed 07/11/22 Entered 07/11/22 18:35:21                         Desc Main
                                                                  Document      Page 2 of 5
Debtor 1 Michael L Ressler aka Mike Ressler                                       Case number (if known)            18-70582-JAD
                First Name             Middle Name            Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[]       I am the creditor.

[X]       I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


    /s/ Christopher Giacinto                                                            Date   07/11/2022
    Signature



Print:                       Christopher Giacinto                                      Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                                   Email: PLGinquiries@padgettlawgroup.com




* Per the attached correspondence, the new payment was effective 07/01/2022. Creditor recognizes that notice of the
new payment amount is untimely under Rule 3002.1. Creditor is filing this notice of payment change to substantially
comply with Bankruptcy Rule 3002.1. Since the monthly mortgage payment decreased, it is assumed minimal harm,
if any, will be caused by the delay in filing this notice. Any overpayment of funds resulting from the delayed notice
can be returned to the debtor or trustee upon request.




Official Form 410S1                                                Notice of Mortgage Payment Change                                           page 2
       Case 18-70582-JAD        Doc    Filed 07/11/22 Entered 07/11/22 18:35:21            Desc Main
                                       Document      Page 3 of 5
                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

                                                                                                 11th
on the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________ day of

July, 2022.



                                                    /S/ Christopher Giacinto

                                                    ___________________________________
                                                    CHRISTOPHER GIACINTO
                                                    PADGETT LAW GROUP
                                                    6267 Old Water Oak Road, Suite 203
                                                    Tallahassee, FL 32312
                                                    (850) 422-2520 (telephone)
                                                    (850) 422-2567 (facsimile)
                                                    PLGinquiries@padgettlawgroup.com
                                                    Authorized Agent for Creditor




Official Form 410S1                      Notice of Mortgage Payment Change                                    page 3
         Case 18-70582-JAD       Doc   Filed 07/11/22 Entered 07/11/22 18:35:21   Desc Main
                                       Document      Page 4 of 5

                                SERVICE LIST (CASE NO. 18-70582-JAD)

Debtor
Michael L Ressler
605 Fairfield Avenue
Johnstown, PA 15906
aka Mike Ressler

Attorney
Kenneth P. Seitz
Law Offices of Kenny P. Seitz
P.O. Box 211
Ligonier, PA 15658

Trustee
Ronda J. Winnecour
USX Tower
600 Grant Street
Suite 3250
Pittsburgh, PA 15219

US Trustee
Office of the United States Trustee
Liberty Center.
1001 Liberty Avenue, Suite 970
Pittsburgh, PA 15222




Official Form 410S1                    Notice of Mortgage Payment Change                      page 4
page1
                  Case 18-70582-JAD                 Doc         Filed 07/11/22 Entered 07/11/22 18:35:21                            Desc Main
118
                                                                Document      Page 5 of 5
                                                                                        07/06/2022               OUR INFO
                                             RETURN SERVICE ONLY                                                 ONLINE
                                             PLEASE DO NOT SEND MAIL TO THIS ADDRESS                             www.rightpathservicing.com
                                             PO Box 818060
                                             5801 Postal Road
                                             Cleveland, OH 44181
                                                                                                                 YOUR INFO
                                                                                                                 LOAN NUMBER


                                                                                                                 PROPERTY ADDRESS
                                                                                                                 605 FAIRFIELD AVE
                                                                                                                 JOHNSTOWN, PA 15906
        MICHAEL L RESSLER
        P O BOX 211
        C/O KENNETH P SEITZ ATTY
        LIGONIER, PA 15658




        WELCOME TO A SMALLER PAYMENT.
        Your mortgage insurance (MIP) is no longer necessary.
        Dear MICHAEL RESSLER:

        Congratulations! You’ve done a great job increasing your home equity. As a result, you are no longer
        required to pay mortgage insurance premiums (MIP). So, we’ve removed this coverage for you.                           GOOD
        From now on, your monthly MIP in the amount of $48.35 has been removed. You’ll see a reduction in                     NEWS:
        your monthly payment soon.                                                                                            We’ve removed
        Here at RightPath Servicing, we love when our customers save money.                                                   mortgage insurance
        By the way, MIP is NOT the same as the property/casualty insurance, such as hazard insurance,
                                                                                                                              from your
        which covers damage to your home. Removal of MIP does not affect any obligation you have for                          home loan.
        other types of insurance.

        Have questions? Please call our Customer Service team at the number above. We’re here to make
        your home loan experience less worrisome and more rewarding.

        You can also review your loan summary, account activity, escrow information and more by visiting
        us online at www.rightpathservicing.com.

        Sincerely,
        Your Customer Service Team at RightPath Servicing




        RightPath ServicingSM and Mr. Cooper® are brand names for Nationstar Mortgage LLC.
        Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
        recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
        discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to collect a
        debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property securing the loan
        obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as
        an attempt to collect against the borrower personally or an attempt to revive personal liability.
        If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on
        the loan) that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is
        not an attempt to collect a debt from you personally.
                                                                                                                                                     44-41
